                                   Case 3:17-cv-02021-AWT Document 1 Filed 12/05/17 Page 1 of 15
JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
ESCO Advisors, LLC                                                                                          Eligo Energy, LLC; VIR Technologies, LLC; I2R Holdings, LLC;
                                                                                                            Friedgan, Mark; Goldstein, Alex

    (b) County of Residence of First Listed Plaintiff             Fairfield County, CT                        County of Residence of First Listed Defendant              Cook County, IL
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Greene Law, P.C.
11 Talcott Notch Road, Farmington, CT 06032
860-676-1336

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1       Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 490 Cable/Sat TV
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)           ’ 850 Securities/Commodities/
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Exchange
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 890 Other Statutory Actions
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 891 Agricultural Acts
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                             ’ 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     ’ 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 896 Arbitration
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)             ’ 899 Administrative Procedure
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party                  Act/Review or Appeal of
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                       ’ 950 Constitutionality of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           28 U.S.C. sec. 1332
VI. CAUSE OF ACTION Brief description of cause:
                                           Theft of intellectual property
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                         1,000,000.00                             JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
12/05/2017                                                              /s/ Gary J. Greene
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE

                 Print                               Save As...                                                                                                                  Reset
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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT
____________________________________
ESCO Advisors, LLC                            Case No.
                        Plaintiff
v.

Eligo Energy, LLC,
VIR Technologies, LLC,
I2R Holdings, LLC,
Mark Friedgan, and
Alex Goldstein
                        Defendants                             December 5, 2017
____________________________________

                                             COMPLAINT

                                               PARTIES

       1.       Plaintiff, ESCO Advisors, LLC (“ESCO”), is a limited liability company organized

and existing under the laws of the State of Connecticut.

       2.       Upon information and belief, defendant, Eligo Energy, LLC (“Eligo”), is a limited

liability company organized and existing under the laws of the State of Delaware, and maintains a

principal office located at 201 W. Lake Street, Ste. 151, Chicago, Illinois.

       3.       Upon information and belief, defendant, VIR Technologies, LLC (“VIR”), is a

limited liability company organized and existing under the laws of the State of Delaware, and

maintains a principal office located at 201 W. Lake Street, Ste. 151, Chicago, Illinois.

       4.       Upon information and belief, defendant, I2R Holdings, LLC (“I2R”), is a limited

liability company organized and existing under the laws of the State of Delaware, and maintains a

principal office located at 201 W. Lake Street, Ste. 151, Chicago, Illinois.

       5.       Upon information and belief, defendant, Mark Friedgan (“Friedgan”), is an

individual with a principal residence located in the state of Illinois.




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       6.       Upon information and belief, defendant, Alex Goldstein (“Goldstein”), is an

individual with a principal residence located in state of Illinois.

       7.       Upon information and belief, Friedgan and/or Goldstein are members and/or

managers of I2R.

       8.       Upon information and belief, I2R is a member and/or manager of Eligo and VIR.

                                           JURISDICTION

       9.       This Court has jurisdiction pursuant to 28 U.S.C. §1332.

                                                VENUE

       10.      Venue is proper pursuant to 28 U.S.C. §1391(b)(2).

                                    FACTUAL BACKGROUND

       11.      ESCO develops and licenses proprietary software to the retail energy sector, and

provides related consulting services to its national clients.

       12.      On or about June 26, 2012, Eligo executed a Nondisclosure Agreement with ESCO

(the “Eligo NDA”), and thereafter became a customer of ESCO.

       13.      In or around October, 2012, Eligo executed a Consulting & Services Agreement with

ESCO, which was later amended by way of a Consulting & Services Agreement dated June 12,

2015, and again amended by way of an Addendum to Consulting & Services Agreement dated

August 21, 2017 (collectively the “Eligo Consulting Agreement”).

       14.      In becoming a customer of ESCO, and upon execution of the Eligo NDA and the

Eligo Consulting Agreement, Eligo, Friedgan and Goldstein gained access and use of ESCO’s full

suite of risk management software products and services, which ESCO developed and use to

manage the supply function of a retail energy provider, provide pricing to its customers, and comply

with counterparty obligations.

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       15.       At some time between October 1, 2012 and December 31, 2013, Friedgan and

Goldstein invested monies into ESCO, and were elected to ESCO’s Board of Managers. As a result,

each were given both a voting interest and membership interest in ESCO.

       16.       As members of the Board of Managers, and as a result of holding voting and

membership interests, Friedgan and Goldstein were granted greater access to ESCO’s proprietary

intellectual property, including but not limited to its software packages’ source code, pricing

models, consulting services and client/industry contact database (collectively the “ESCO

Property”).

       17.       Specifically, Friedgan and Goldstein were granted access to the following ESCO

Property that they would not have otherwise had access to as mere customers of ESCO:

              a. Market data;

              b. Target market segments;

              c. Sales presentations;

              d. Product differentiation;

              e. Customer sales queue;

              f. Marketing plans;

              g. Financial forecasts;

              h. Technology plans;

              i. Technology development plans;

              j. Pricing strategies; and

              k. Business structure and organizational data.




                                            3
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       18.     In or around June, 2017, ESCO entered into negotiations with Cognitive Energy,

LLC (“Cognitive”), wherein Cognitive originally agreed to purchase substantially all the assets of

the company for the sum of $8,500,000.00.

       19.     During the due diligence process, it was discovered that at some point in time

between 2012 and 2015, Friedgan and/or Goldstein and/or Eligo had reverse engineered the ESCO

Property, and transferred the tables, know-how, data and formulas to VIR, another company owned

and/or operated by Friedgan, Goldstein and/or I2R.

       20.     Thereafter, Friedgan and/or Goldstein and/or VIR developed their own pricing

models using the formulas and other proprietary information and methods derived from reverse

engineering the ESCO Property (the “VIR Software”).

       21.     Upon information and belief, VIR, which is controlled, at least partially, by Friedgan

and Goldstein, licenses or sells the VIR Software to third party customers.

       22.     Prior to closing on the sale of its assets to Cognitive, ESCO requested its principals

to execute restrictive agreements to protect the integrity of the ESCO Property.

       23.     Eligo refused to execute the restrictive agreement used with and executed by every

other ESCO principal, and demanded a more permissive agreement be drafted.

       24.     Upon information and belief, Eligo refused to sign the standard restrictive agreement

due to its, Friedgan’s and Goldstein’s intent to market, sell, license or otherwise use and profit from

the VIR Software, and intent to directly compete with ESCO and Cognitive.

       25.     As a result of the development of the VIR Software using information disseminated

from reverse engineering the ESCO Property, and Eligo’s refusal to sign the same restrictive

agreement as each of ESCO’s other customers, the value of ESCO diminished and the final




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purchase price for ESCO’s assets was reduced to $7,850,000.00 as memorialized in ESCO and

Cognitive’s Purchase and Sale Agreement dated September 12, 2017 (“ESCO P&S”).

        26.      Upon information and belief, Friedgan, Goldstein, Eligo, I2R and/or VIR continue to

market and license the VIR Software to customers that would have otherwise engaged the services

of ESCO, given the uniqueness and proprietary nature of the ESCO Property.

        27.      Upon information and belief, Friedgan, Goldstein and/or I2R are actively marketing

the sale of Eligo and/or VIR, and expect to earn a profit from said sale.

  COUNT ONE: BREACH OF CONTRACT (Eligo NDA and Eligo Consulting Agreement)
                            (As to Eligo)

        28.      The allegations contained in paragraphs 1-27 are hereby incorporated by reference

and made a part hereof.

        29.      The Eligo NDA prohibits the transmittal, dissemination or distribution of ESCO’s

proprietary data to third parties.

        30.      The Eligo Consulting Agreement states in Section 8(c) thereof that, inter alia, Eligo:

              a. agrees not to make the ESCO Data available, in whole or in part, to any third party;

              b. agrees not to interfere with or disrupt the integrity or performance of the ESCO

                 Property; and

              c. agrees not to attempt to gain unauthorized access to the ESCO Property.

        31.      Pursuant to Section 9(c) of the Eligo Consulting Agreement, Eligo agreed to not:

              a. Directly or indirectly license, sublicense, sell, resell, transfer, assign, distribute or

                 otherwise commercially exploit or make available to any third party the ESCO

                 Property;

              b. Modify, copy or create derivative works based on the ESCO Property;



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             c. Disassemble, reverse engineer or decompile the ESCO Property; and

             d. Build a competitive product or service, or build a product or service using similar

                ideas, features, functions or graphics as the ESCO Property.

       32.      The acts of reverse engineering the ESCO Property, effectively stealing ESCO’s

proprietary data, and then transferring the reverse engineered information to VIR, constitute a

breach of the terms of the Eligo NDA and Eligo Consulting Agreement.

       33.      As a result of Eligo’s breach of the Eligo NDA and Consulting Agreement, ESCO is

entitled to damages, in addition to reasonable attorney’s fees and costs.

COUNT TWO: BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING
                     (As to Friedgan and Goldstein)

       34.      The allegations contained in paragraphs 1-32 are hereby incorporated by reference

and made a part hereof.

       35.      Any newly admitted member to a limited liability company, who is admitted in

accordance with the terms of a written operating agreement, is deemed to assent to the terms of the

operating agreement pursuant to Conn. Gen. Stat. §34-243e(b).

       36.      As members of ESCO, Friedgan and Goldstein are thus bound by the terms,

conditions and provisions as set forth in ESCO’s Fifth Amended and Restated Limited Liability

Company Operating Agreement dated October 21, 2016 (the “Operating Agreement”).

       37.      Implied in every written agreement is a covenant of good faith and fair dealing.

       38.      Given the sensitive, confidential and proprietary nature of its business, software

suite, data and methods, ESCO reasonably believed Friedgan and Goldstein, as members of the

company, would act in good faith and with reasonable care in their handling of the ESCO Property.




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        39.     In causing or otherwise allowing the ESCO Property to be reverse engineered,

effectively stealing ESCO’s data, and by causing or otherwise allowing the stolen, reverse

engineered information to be transmitted to VIR, Friedgan and Goldstein acted in bad faith and

launched an attack on the very heart of ESCO’s business model and target market, and engaged in

conduct which caused ESCO irreparable harm.

        40.     Friedgan and Goldstein have breached their duty of good faith and fair dealing owed

to ESCO, and as a result, ESCO claims damages in an amount to be determined at trial, including

attorney’s fees and costs.

                       COUNT THREE: BREACH OF FIDUCIARY DUTY
                              (As to Friedgan and Goldstein)

        41.     The allegations contained in paragraphs 1-39 are hereby incorporated by reference

and made a part hereof.

        42.     As members of ESCO, as well as members of the Board of Managers, Friedgan and

Goldstein owed a fiduciary duty to the company to protect its sensitive, confidential and proprietary

information, and to not release said information outside of the confines of the company.

        43.     Friedgan and Goldstein owed a duty to ESCO to not take any actions which would

adversely impact or impair ESCO’s market share, acquisition of future customers, value,

profitability, integrity and relationship with its clients.

        44.     Said duties include, but are not limited to, not reverse engineering the ESCO

Property, not establishing a competitor company and software package, not stealing ESCO’s

property, not directly or indirectly competing with ESCO’s market share and targeting potential

future customers, and not taking any actions which would benefit themselves, directly or indirectly,

to the detriment of ESCO.



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       45.      In causing or otherwise allowing the ESCO Property to be reverse engineered,

causing or otherwise allowing the reverse engineered information to be stolen and transmitted to

VIR, by causing or otherwise allowing VIR to develop its own VIR Software and directly compete

with ESCO’s business, and by refusing to sign the same restrictive agreement as other principals of

ESCO, Friedgan and Goldstein acted in bad faith and breached their fiduciary obligations owed to

the company.

       46.      As a result of Friedgan and Goldstein’s breach of their fiduciary obligations owed to

ESCO, the company suffered damages in the amount of $650,000.00, which represents the

reduction in purchase price paid by Cognitive.

                        COUNT FOUR: TORTIOUS INTERFERRENCE
                                 (As to All Defendants)

       47.      The allegations contained in paragraphs 1-39 are hereby incorporated by reference

and made a part hereof.

       48.      Given the unique and proprietary nature of the ESCO Property, the VIR Software

could not have been developed, marketed and made profitable in the manner which and to the extent

it is but for the act of reverse engineering the ESCO Property.

       49.      But for the development of the VIR Software, it is reasonably probable the

customers procured by VIR would have been customers of ESCO.

       50.      In causing or otherwise allowing the ESCO Property to be reverse engineered,

causing or otherwise allowing the reverse engineered information to be transmitted to VIR, and by

causing or otherwise allowing VIR to develop its own VIR Software and directly compete with

ESCO’s business, the Defendants tortuously interfered with ESCO’s business relationships and

expectancies.



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        51.    ESCO has been damaged in an amount equal to any revenues earned by VIR on

account of the VIR Software, and future profits from customers that would have been acquired by

ESCO.

                                      COUNT FIVE: FRAUD
                               (As to Friedgan, Goldstein and Eligo)

        52.    The allegations contained in paragraphs 1-50 are hereby incorporated by reference

and made a part hereof.

        53.    In becoming members of ESCO, and in becoming members of the Board of

Managers, and, during the sale process with Cognitive, Friedgan, Goldstein and Eligo actually or,

through their actions, implicitly represented and caused ESCO to believe they would not take any

actions which would benefit themselves to the detriment of ESCO.

        54.    During negotiations with Cognitive, Eligo, through Friedgan and Goldstein,

requested a new and more favorable consultation agreement be executed between Eligo and ESCO,

and as consideration for the more favorable terms, Eligo, Friedgan and Goldstein represented they

would cooperate with and work to facilitate the transaction with Cognitive.

        55.    Friedgan, Goldstein and Eligo knew these actual and/or implied statements were

untrue when made as, at that time, they had already caused or allowed the ESCO Property to be

reverse engineered and/or stolen, and intended to directly compete with ESCO.

        56.    Friedgan, Goldstein and Eligo made these actual and/or implied statements with the

intent of inducing ESCO to enter into a less restrictive agreement during the sales process with

Cognitive.

        57.    ESCO relied on these actual and/or implied statements, and did enter into a less

restrictive agreement, to its detriment.



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       58.    As a result, ESCO claims damages in an amount to be determined at trial.

          COUNT SIX: VIOLATION OF THE UNIFORM TRADE SECRETS ACT
                          (Conn. Gen. Stat. §35-50, et seq)
                              (As to All Defendants)

       59.    The allegations contained in paragraphs 1-57 are hereby incorporated by reference

and made a part hereof.

       60.    Friedgan, Goldstein, Eligo, I2R and VIR are each a “person” as that term is defined

under Conn. Gen. Stat. §35-51(c).

       61.    The ESCO Property constitutes a “trade secret” as that term is defined under Conn.

Gen. Stat. §35-51(d).

       62.    Friedgan, Goldstein and Eligo’s acquisition of the ESCO Property was done under

circumstances requiring the maintenance of its secrecy and limited use.

       63.    Friedgan, Goldstein and Eligo’s reverse engineering and/or theft of the ESCO

Property constitutes a “misappropriation” as that term is defined under Conn. Gen. Stat. §35-51(b).

       64.    VIR’s acquisition of the stolen, reverse engineered ESCO Property, and use of that

property to develop, market and utilize the VIR Software constitutes a “misappropriation” as that

term is defined under Conn. Gen. Stat. §35-51(b).

       65.    The Defendants’ misappropriation of ESCO’s trade secrets was willful and

malicious.

       66.    The Defendants’ actions, stated above, constitute a misappropriation of trade secrets

in violation of Conn. Gen. Stat. §35-50, et seq, and as a result, ESCO claims damages including, but

not limited to (1) an injunction from the further use, marketing, dissemination, sale, licensing of,

and profiting from, the VIR Software; (2) actual damages resulting in the loss incurred by the

development of the VIR Software; (3) punitive damages; and (4) attorney’s fees.

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                                COUNT SEVEN: CIVIL THEFT
                                    (Conn. Gen. Stat. §52-564)
                              (As to Friedgan, Goldstein and Eligo)

       67.     The allegations contained in paragraphs 1-66 are hereby incorporated by reference

and made a part hereof.

       68.     Friedgan, Goldstein and Eligo reverse engineered the ESCO Property with the actual

intent of depriving ESCO from the benefit of said property.

       69.     The actions of Friedgan, Goldstein and Eligo, described supra, constitute civil theft

in violation of Conn. Gen. Stat. §52-564.

       70.     ESCO claims treble damages.

                                COUNT EIGHT: CONVERSION
                                        (As to VIR)

       71.     The allegations contained in paragraphs 1-66 are hereby incorporated by reference

and made a part hereof.

       72.     In receiving the reverse engineered ESCO Property, VIR has deprived ESCO of its

property, and converted said property for its own use when it developed the VIR Software.

       73.     As a result, ESCO has suffered damages.

                           COUNT NINE: UNJUST ENRICHMENT
                                  (As to All Defendants)

   74. The allegations contained in paragraphs 1-72 are hereby incorporated by reference and made

       a part hereof.

   75. The Defendants have benefitted from the reverse engineering of the ESCO Property, and the

       development, marketing, sale and licensing of the VIR Software.

   76. Said benefit came at ESCO’s detriment.

   77. The Defendants failed to pay reasonable compensation for said benefit.

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   78. As a result, ESCO claims damages in an amount to be determined at trial.

                      COUNT TEN: PIERCE THE CORPORATE VEIL
                                (As to All Defendants)

       79.     The allegations contained in paragraphs 1-77 are hereby incorporated by reference

and made a part hereof.

       80.     The foregoing conduct by the Defendants demonstrate Friedgan and Goldstein’s

complete dominance over the finances, business policies and practices of Eligo, I2R and VIR, as

well as the use of such domination to cause Eligo, I2R and VIR to violate their respective legal

duties and to commit certain unjust acts in contravention of ESCO’s legal rights, thereby causing

great financial harm to ESCO.

       81.     The foregoing conduct of the Defendants demonstrate that, at no time did the

individual or business defendants have a separate mind or interests, and that the business defendants

are mere alter egos of themselves, Friedgan and Goldstein.

       82.     Based upon the foregoing conduct of the Defendants, the corporate veil shielding

their respective assets should be pierced, and each defendant should be found liable for all damages

incurred by ESCO as a result of the claims made herein.




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WHEREFORE, Plaintiff claims:

         1. Money damages;

         2. Consequential damages;

         3. Interest pursuant to Conn. Gen. Stat. §37-3a;

         4. Punitive damages pursuant to Conn. Gen. Stat. §35-53;

         5. Treble damages pursuant to Conn. Gen. Stat. §52-564;

         6. Permanent injunction, enjoining Defendants from developing, marketing, selling,

            licensing, disseminating or otherwise using or profiting from the VIR Software

            pursuant to Conn. Gen. Stat. §35-53;

         7. Attorney’s fees pursuant to contract, common law fraud, and Conn. Gen. Stat. §35-

            53;

         8. Costs; and

         9. Such other and further relief that the Court deems just, proper and appropriate.




DATED: December 5, 2017                            ESCO Advisors, LLC

                                                   By:       /s/ Gary J. Greene________________
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